Case 1:18-cv-00950-PTG-JFA Document 83-7 Filed 01/23/19 Page 1 of 20 PageID# 1963




          Gould
         Exhibit G
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1 2ofof1920 Page
                                                                         PageID#  1964
                                                                              ID #:707
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page2 3ofof1920 Page
                                                                         PageID#  1965
                                                                              ID #:708
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page3 4ofof1920 Page
                                                                         PageID#  1966
                                                                              ID #:709
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page4 5ofof1920 Page
                                                                         PageID#  1967
                                                                              ID #:710
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page5 6ofof1920 Page
                                                                         PageID#  1968
                                                                              ID #:711
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page6 7ofof1920 Page
                                                                         PageID#  1969
                                                                              ID #:712
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page7 8ofof1920 Page
                                                                         PageID#  1970
                                                                              ID #:713
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page8 9ofof1920 Page
                                                                         PageID#  1971
                                                                              ID #:714
Case
 Case1:18-cv-00950-PTG-JFA
      2:08-cv-00335-VBF-PLA Document
                             Document83-7 Filed03/31/08
                                      31 Filed  01/23/19 Page
                                                          Page910
                                                                of of
                                                                   1920Page
                                                                        PageID#  1972
                                                                            ID #:715
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1011ofof1920 Page
                                                                          PageID#  1973
                                                                               ID #:716
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1112ofof1920 Page
                                                                          PageID#  1974
                                                                               ID #:717
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1213ofof1920 Page
                                                                          PageID#  1975
                                                                               ID #:718
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1314ofof1920 Page
                                                                          PageID#  1976
                                                                               ID #:719
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1415ofof1920 Page
                                                                          PageID#  1977
                                                                               ID #:720
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1516ofof1920 Page
                                                                          PageID#  1978
                                                                               ID #:721
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1617ofof1920 Page
                                                                          PageID#  1979
                                                                               ID #:722
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1718ofof1920 Page
                                                                          PageID#  1980
                                                                               ID #:723
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1819ofof1920 Page
                                                                          PageID#  1981
                                                                               ID #:724
Case
Case 1:18-cv-00950-PTG-JFA
     2:08-cv-00335-VBF-PLA Document
                           Document 83-7 Filed03/31/08
                                    31 Filed   01/23/19 Page
                                                         Page1920ofof1920 Page
                                                                          PageID#  1982
                                                                               ID #:725
